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                                                                          8                                  UNITED STATES DISTRICT COURT
                                                                          9                                        Northern District of California
                                                                         10                                           San Francisco Division
                                                                         11    U.S. ETHERNET INNOVATIONS LLC,                           No. C 10-03724 CW (LB)
                                                                         12                           Plaintiff,                        ORDER RE DISCOVERY DISPUTE
UNITED STATES DISTRICT COURT




                                                                                        v.                                              IN ECF NO. 1186
                               For the Northern District of California




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                                                                               ACER INC, et al.,                                        [RE: ECF No. 1186]
                                                                         14
                                                                                                 Defendants.
                                                                         15    ____________________________________/
                                                                         16                                             INTRODUCTION
                                                                         17       This dispute is about USEI’s Rule 45 subpoena to Lenovo, the defendant in a stayed patent
                                                                         18   infringement case that USEI filed in the Eastern District of Texas. U.S. Ethernet Innovations, LLC
                                                                         19   v. Lenovo (United States) Inc., No. C 13-00612 MHS. As part of the January 2014 agreement to
                                                                         20   stay that case, Lenovo agreed to produce limited discovery by the end of March 2014. See 7/18/14
                                                                         21   Joint Letter Brief, ECF No. 1186 at 1; Trusso Decl. Ex. 12, ECF No. 1186-16. That never happened.
                                                                         22   On March 4, 2014, three days before fact discovery closed here, USEI served a Rule 45 subpoena on
                                                                         23   Lenovo in the Eastern District of North Carolina. Id. at 1-2. Lenovo refused to produce the
                                                                         24   previously-agreed-upon limited discovery unless USEI withdrew the subpoena. See Trusso Decl.
                                                                         25   Ex. 2, ECF No. 1186-2 at 2. On March 24, 2014, Lenovo moved to quash, and USEI moved to
                                                                         26   transfer the motion here. 4/18/14 Joint Letter Brief, ECF No. 1186 at 1. The court there has not
                                                                         27   ruled yet on the motions. See id. Because USEI’s opposition to the pending summary judgment
                                                                         28   motions is due on July 31, 2014, USEI asks this court for relief. See id. at 1-3. The court held a


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                                                                          1   hearing on July 24, 2014 and rules as follows.
                                                                          2                                                 ANALYSIS
                                                                          3       The first issue is whether the court can do anything about the pending subpoena. Under Rule 45,
                                                                          4   the Eastern District of North Carolina is the only court with jurisdiction to enforce or quash the
                                                                          5   subpoena. See Fed. R. Civ. P. 45(d)(2)(B)(i) and 45(d)(3)(A). The only exception would be if that
                                                                          6   court transferred the motion to this district, and it has not yet ruled on the motion to transfer. Thus,
                                                                          7   this court has no power to enforce the subpoena and does not reach the issue of whether – given
                                                                          8   Lenovo’s agreement to produce information – there is good cause to excuse the timing of USEI’s
                                                                          9   subpoena, which was issued without enough time for Lenovo to respond before the close of fact
                                                                         10   discovery.
                                                                         11       From a case management perspective, however, the right solution appears to be for USEI to
                                                                         12   withdraw its subpoena and for Lenovo to produce the information that it said it would. That
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                                                                         13   information is in its January 22, 2014 email, which is an exhibit to the letter brief. See Trusso Decl.
                                                                         14   Ex. 13, ECF No. 1186-17. That was the agreement, a court might find good cause for the timing of
                                                                         15   the subpoena given the back-and-forth emails (a good illustration of why picking up the phone is
                                                                         16   better), and a court might narrow the subpoena in precisely this way. At the hearing, USEI seemed
                                                                         17   inclined to agree to this process. Lenovo’s counsel said that she needed to talk with her client. The
                                                                         18   court’s observation is that from Lenovo’s perspective, it seems more cost-effective to produce the
                                                                         19   information it agreed to produce in return for the withdrawal of the subpoena than to continue to
                                                                         20   litigate the issue.
                                                                         21       Lenovo’s counsel also expressed concern about how fast she could produce the information.
                                                                         22   Generally, the discovery is the volume of Lenovo products identified in the January 6 infringement
                                                                         23   contentions that Lenovo shipped from 2005 to 2012. That seems ascertainable from spreadsheets.
                                                                         24   As to the drivers, the court cannot tell. That being said, Lenovo agreed in January to produce
                                                                         25   information in March, and presumably it was preparing its production to meet that deadline before
                                                                         26   the subpoena was served. But in the end, and assuming it agrees to produce information, Lenovo’s
                                                                         27   time frame for production need only be reasonable, and USEI has to live with the timing of its
                                                                         28   raising the dispute here and the effect on its opposition.


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                                                                          1       At the hearing, Lenovo’s counsel agreed to talk with her client and noted that she had no interest
                                                                          2   in creating disputes and instead was more inclined to resolve them. She noted that she might not be
                                                                          3   able to talk with her client until Tuesday because she has a summary judgment motion due today.
                                                                          4   The court allowed that timeline but asked that she try to contact her client as soon as the summary
                                                                          5   judgment motion is filed. If there is a reasonable way to get USEI information at a time when it can
                                                                          6   be used, the court’s preference is that that should happen. Counsel must inform USEI of the
                                                                          7   outcome as soon as possible and in any event by Tuesday.
                                                                          8                                             CONCLUSION
                                                                          9       This disposes of ECF No. 1186.
                                                                         10       IT IS SO ORDERED.
                                                                         11   Dated: July 24, 2014                         _______________________________
                                                                                                                           LAUREL BEELER
                                                                         12                                                United States Magistrate Judge
UNITED STATES DISTRICT COURT
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